           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                         WESTERN DIVISION

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )
     v.                              )       Criminal Action No.
                                     )       09-00167-02-CR-W-NKL
MONIQUE M. HERNANDEZ,                )
                                     )
                Defendant.           )

                      REPORT AND RECOMMENDATION
                  TO ACCEPT DEFENDANT’S GUILTY PLEA

     On October 23, 2009, I held a change-of-plea hearing after

this case was referred to me by United States District Judge

Nanette Laughrey.    I find that defendant’s plea was voluntary and

therefore recommend that it be accepted.

I.   BACKGROUND

     On June 23, 2009, a superseding information was filed

charging defendant with one count of bank robbery, in violation

of 18 U.S.C. § 2113(a).       Judge Laughrey referred this case to me

for conducting a change-of-plea hearing and issuing a report and

recommendation on whether to accept the plea.            The hearing was

held on October 23, 2009.      Defendant was present, represented by

James Brown.   The government was represented by Assistant United

States Attorney David Barnes.       The proceedings were recorded and

a transcript of the hearing was filed on October 23, 2009.




     Case 4:09-cr-00167-NKL    Document 43    Filed 10/27/09   Page 1 of 9
II.   AUTHORITY OF THE COURT

      The authority of federal Magistrate Judges to conduct

proceedings is created and defined by the Magistrates Act, 28

U.S.C. § 636. Besides certain enumerated duties, the Act provides

that a “magistrate may be assigned such additional duties as are

not inconsistent with the Constitution and the laws of the United

States.” 28 U.S.C. § 636(b)(3).

      The Eighth Circuit, following the reasoning of several other

circuits, has held that Magistrate Judges may preside over

allocutions and pleas in felony cases, so long as certain

procedural safeguards are met. United States v. Torres, 258 F.3d

791, 795-96 (8th Cir. 2001); see also United States v. Dees, 125

F.3d 261 (5th Cir. 1997), United States v. Williams, 23 F.3d 629

(2d Cir. 1994). The reasoning applied by the appellate courts

relies upon previous opinions by the United States Supreme Court

that conducting jury voir dire falls within a Magistrate Judge’s

“additional duties” when the defendant has consented. United

States v. Torres, 258 F.3d at 795 (citing Peretz v. United

States, 501 U.S. 923 (1991), Gomez v. United States, 490 U.S. 858

(1989)).

      In Peretz, the Supreme Court held that when a defendant

consents to a Magistrate Judge’s involvement in voir dire, he

waives any objection based on his right to have an Article III

judge hear his felony case. 501 U.S. at 936. Moreover, the


                                     2


      Case 4:09-cr-00167-NKL   Document 43   Filed 10/27/09   Page 2 of 9
availability of de novo review by a District Judge preserves the

structural guarantees of Article III. United States v. Torres,

258 F.3d at 795. Applying the Peretz holding and the reasoning of

Williams, the Eighth Circuit held that the acceptance of guilty

pleas bears adequate relationship to duties already assigned by

the Magistrates Act in that “[a]n allocution is an ordinary

garden variety type of ministerial function that magistrate

judges commonly perform on a regular basis.” Id. Plea allocutions

are substantially similar to evidentiary proceedings explicitly

assigned by the Act. Id. at 796 (citing United States v. Dees,

125 F.3d at 265).       Even if taking a guilty plea were considered

to be of greater importance than those duties already assigned,

the consent of the defendant saves the delegation. Id. “Consent

is the key.” Id. (quoting United States v. Williams, 23 F.3d at

633).

        The Torres court also addressed the implications of such a

delegation for Article III’s case and controversy clause. Id.

Because plea proceedings are submitted to the district court for

approval, the court retains ultimate control over the proceedings

and is not bound to accept a plea taken by a Magistrate Judge.

Id. Moreover, the district court’s de novo review of the plea

proceedings contributes to the ministerial nature of the

Magistrate Judge’s role. Id.




                                       3


        Case 4:09-cr-00167-NKL   Document 43   Filed 10/27/09   Page 3 of 9
     Based on the above, I find that, with the consent of the

defendant, the district court may properly refer a felony case to

a Magistrate Judge for conducting a change-of-plea hearing and

issuing a report and recommendation on whether the plea should be

accepted.

III. FINDINGS OF FACT

     1.     On June 23, 2009, a superseding indictment was returned

charging defendant with one count of bank robbery, in violation

of 18 U.S.C. § 2113(a).       Defendant understood the charge in the

superseding indictment (Tr. at 4).

     2.     The statutory penalty for the charged violation is up

to 20 years in prison, a fine of up to $250,000, a supervised

release term of not more than five years, a mandatory $100

special assessment, and possible restitution to the victim bank

(Tr. at 4).

     3.     Defendant was advised of the following:

            a.   That she has a right to a trial by jury of at

     least 12 individuals and that their verdict must be

     unanimous (Tr. at 4);

            b.   That she has the right to assistance of counsel

     throughout the trial (Tr. at 5);

            c.   That defendant is presumed innocent, and the

     government has the burden of coming forward to prove

     defendant’s guilt beyond a reasonable doubt (Tr. at 6);


                                     4


     Case 4:09-cr-00167-NKL    Document 43   Filed 10/27/09   Page 4 of 9
            d.    That defendant’s attorney would have the

     opportunity to cross examine the government witnesses (Tr.

     at 5);

            e.    That defendant has the right to testify but does

     not have to, and that the jury could not make an adverse

     inference from the fact that defendant may not testify at

     trial (Tr. at 5-6);

            f.    That defendant has the right to subpoena witnesses

     to testify on her behalf (Tr. at 6); and

            g.    That defendant would have an opportunity to appeal

     any conviction to the Eighth Circuit Court of Appeals (Tr.

     at 6-7).

     4.     Defendant was informed and understood that by pleading

guilty, she is giving up all of the rights described above (Tr.

at 4-7, 16-17).

     5.     Defendant was informed that during the change-of-plea

proceeding, she would be placed under oath and questioned by

counsel and the judge (Tr. at 7).       Defendant was further informed

that she must answer questions truthfully while under oath (Tr.

at 7).    Defendant stated that she understood (Tr. at 7).

     6.     This was an open-file case, and defense counsel

reviewed the government’s file (Tr. at 7).         Government counsel

stated that its evidence would show that:

     On or about May 7, 2009, . . . the First Federal Bank . . .
     was robbed. . . . [T]he robber, Mr. Perkins, approached a

                                    5


     Case 4:09-cr-00167-NKL   Document 43   Filed 10/27/09   Page 5 of 9
     counter and asked for money, he made a demand for money. He
     did not have a weapon. He was not armed. In doing so he left
     his wallet at the counter and left. That wallet contained
     his Missouri driver’s license and other identification in
     his true name, and as such, he was located relatively
     easily, along with Ms. Hernandez. Subsequent review of the
     security tapes indicated Mr. Perkins -- it memorialized Mr.
     Perkins in the bank performing the robbery. However, a
     review of a secondary tape that wasn’t initially available
     when we first charged Mr. Perkins, indicated Ms. Hernandez
     in the bank casing the place, for lack of a better term,
     about five to six minutes before the bank was actually
     robbed. When Mr. Perkins was first indicted, Ms. Hernandez
     was arrested with him briefly. She was interviewed and
     initially denied any involvement in the robbery. So, at that
     point we just charged Mr. Perkins. When that second security
     tape became available, it was at that point that we
     superseded and added Ms. Hernandez to the mix. We would
     offer the testimony of the various eyewitnesses that would
     testify to both Ms. Hernandez’s and Mr. Perkins’ presence in
     the bank in May of 2009. We would offer testimony from the
     victim teller with regard to her fear, intimidation, her
     fear of violence with regard to Mr. Perkins. We would offer
     evidence of the amount of loss and we would offer evidence
     that the bank was, in fact, insured by the FDIC as required
     to establish federal jurisdiction, and that all of these
     things took place in the 4200 block of Blue Ridge, which is
     in the Western District of Missouri. . . . [S]he admitted
     being in the car while Mr. Perkins went in and actually did
     the robbery when she was initially contacted. She was
     arrested with Mr. Perkins with proceeds and new clothes,
     both for him and her. They were arrested in a hotel in the
     area immediately after the robbery when Mr. Perkins was
     identified via his identification and then a car associated
     with that identification was located. And then ultimately
     she was arrested based on the review of the tape that showed
     her looking around in the bank immediately before [Mr.
     Perkins entered the bank and robbed it].

(Tr. at 8-10.

     7.   Defense counsel agreed that his review of the evidence

and his independent investigation confirmed that the facts were




                                    6


     Case 4:09-cr-00167-NKL   Document 43   Filed 10/27/09   Page 6 of 9
as alleged by the government and that it is in the defendant’s

best interest to plead guilty (Tr. at 7-8).

       8.    Defendant was placed under oath (Tr. at 10) and

admitted the following:         She entered the bank to find out if

there was a bank guard, she did that and reported back to Mr.

Perkins, she waited in the car while Mr. Perkins entered the bank

and robbed it, and she received some of the proceeds of the bank

robbery (Tr. at 14-15).         Defendant knew that Mr. Perkins was

going to rob the bank, she knew that was wrong, she knew he would

have to use some sort of force or intimidation in order to get

the money, and she does not dispute that the bank is insured by

the FDIC (Tr. at 10-13).

       9.    Defendant is aware there is no plea agreement (Tr. at

13).

       10.   No one has made any threats or promises in order to get

defendant to plead guilty (Tr. at 13-14).

       11.   Defendant is satisfied with the advice and guidance she

has received from Mr. Brown (Tr. at 14).           There is nothing Mr.

Brown has done that defendant did not want him to do, and there

is nothing she wanted Mr. Brown to do that Mr. Brown has not done

(Tr. at 14).

       12.   Defendant is 42 years of age (Tr. at 14).            She has a

high school diploma and one year of college (Tr. at 14).                She has

no mental health concerns as long as she takes her medication,

and she was compliant with her medication at the time of the

                                       7

       Case 4:09-cr-00167-NKL    Document 43   Filed 10/27/09   Page 7 of 9
change-of-plea hearing (Tr. at 15-16).           She was not under the

influence of any alcohol or drug that would affect her ability to

make an intelligent choice about pleading guilty during the

change-of-plea hearing (Tr. at 16).

        13.   Defendant tendered a plea of guilty to the crime

charged in this superseding indictment (Tr. at 18).

IV.   ELEMENTS OF THE CHARGED OFFENSE

        The elements necessary to sustain a conviction for bank

robbery are:

        (1)   the defendant took money from the person of another

while that money was in the care or custody of the First Federal

Bank;

        (2)   such taking was by force and violence or intimidation;

and

        (3)   the deposits of the First Federal Bank were then

insured by the FDIC.

Eighth Circuit Model Criminal Jury Instruction 6.18.2113A.

V.    CONCLUSION

        Based on the above, I make the following conclusions:

        1.    The district court may lawfully refer this case to a

Magistrate Judge for issuance of a report and recommendation on

whether defendant’s guilty plea should be accepted.

        2.    Defendant knowingly and voluntarily pleaded guilty to

conduct establishing every element of the crime charged in this

superseding indictment.

                                       8

        Case 4:09-cr-00167-NKL   Document 43   Filed 10/27/09   Page 8 of 9
     Therefore, it is

     RECOMMENDED that the court, after making an independent

review of the record and the applicable law, enter an order

accepting defendant’s guilty plea and adjudging defendant guilty

of the offense charged.

     Objections to this Report and Recommendation shall be served

and filed by October 29, 2009.



                                    BáB eÉuxÜà XA _tÜáxÇ
                                  ROBERT E. LARSEN
                                  United States Magistrate Judge

Kansas City, Missouri
October 27, 2009




                                    9

     Case 4:09-cr-00167-NKL   Document 43   Filed 10/27/09   Page 9 of 9
